        Case 1:21-cv-01298-RC Document 37-13 Filed 03/21/23 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  NATIONAL ASSOCIATION OF
  MINORITY VETERANS,

                          Plaintiff,

            v.                                            Civil Action No. 21-1298 (RC)

  U.S. DEPARTMENT OF VETERANS
  AFFAIRS,

                          Defendant.


                      DECLARATION OF DEANA M. MARAKOWSKI

       I, Deana M. Marakowski, do hereby declare under penalty of perjury, pursuant to 28 U.S.C.

§ 1746, that the following is true and correct to the best of my knowledge, information and belief:

       1.        I have been the Freedom of Information Act (FOIA) Officer for the Department of

Veterans Affairs (VA) Veterans Health Administration (VHA) Central Office FOIA in

Washington, DC since 2011. Prior to that, I was a facility FOIA Officer since 2009.

       2.        My responsibilities include processing VHA Central Office FOIA requests. I am

also responsible for advising VHA field FOIA Officers as well as for other duties assigned to me

that are of a pressing nature for the Agency and the VHA Central FOIA Office.

       3.        Over the course of the past years processing VHA Central Office FOIA requests, I

have developed experience and knowledge as to where information being requested from VHA is

most likely to be found within VHA’s Central Office, programs which are part of VHA Central

Office and other national VA programs. VHA Central Office FOIA responsibilities does not

include a search of individual VHA facilities.
        Case 1:21-cv-01298-RC Document 37-13 Filed 03/21/23 Page 2 of 5




       4.      I declare that the statements made in this declaration are based on my personal

knowledge, knowledge acquired by me as the processing FOIA Officer, and information contained

in the FOIA administrative case file.

                   I. REFERRAL OF DOCUMENTS TO VETERANS HEALTH
                         ADMINISTRATION CENTRAL OFFICE FOIA
                        FROM OFFICE OF THE INSPECTOR GENERAL

       5.      On October 6, 2021, the OIG issued an initial agency decision letter under OIG

FOIA tracking number 21-00363-FOIA to FOIA requestor, Matthew Strugar, and determined that

a portion of the responsive records required a review and release determination by VHA.

       6.      On October 6, 2021, OIG referred one-hundred and twenty-eight (128) pages of

responsive records to VHA because the records originated within VHA. Upon review, VHA

determined that the referral was actually one-hundred twenty-nine (129) pages of responsive

records. The documents included a copy of a Report of Contact; Employee Threat Assessment

Team (ETAT) Guide, dated April 2016; a November 7, 2013, Memorandum; and a June 3, 2017,

Patient Record Flags (PRF) Draft Policy, which was a draft of a VHA Directive that was later

published.

       7.      The FOIA tracking number assigned to this referral was 22-00016-R.

       8.      On December 22, 2022, I, Deana Marakowski, issued an initial agency decision

letter to FOIA requester, Matthew Strugar. See Exhibit J. Contemporaneously, I released the

referred documents. Certain information or pages were withheld under Exemptions 5 and 6.

       9.      As of this filing, Plaintiff still has ongoing administrative proceedings with

Veterans Health Administration in regard to Plaintiff’s original November 11, 2021 FOIA request

(see, e.g., Exhibit K), with additional records processing and release likely forthcoming.




                                               -2-
        Case 1:21-cv-01298-RC Document 37-13 Filed 03/21/23 Page 3 of 5




                 II. FOIA EXEMPTIONS, FORESEEABLE HARM FROM
                         DISCLOSURE, AND SEGREGABILITY

       10.     Attached to this declaration is VHA Central Office Vaughn index documenting the

FOIA exemptions applied.

       11.     The pre-decisional draft of unnumbered VHA Directive Workplace Violence

Prevention Program was withheld in full under Exemption 5’s deliberative process privilege,

except for the last page which was released and is blank except for the document header. The

application of this exemption is discussed in more detail in the Vaughn Index.

       12.     I determined that release of the pre-decisional draft of the Directive could

reasonably be expected to cause harm to the VA. Release of the non-final draft would likely

confuse the public because it contains discussions and concerns that were not published in the final

Directive. Moreover, the release of this draft document, which contains discussion between VA

employees regarding adoption or rejection of ideas, policies, language, and legal requirements,

would likely suppress open, candid discussion about future VA policies.

       13.     The November 7, 2013 Memorandum on Meeting New Mandatory Safety Training

Requirements was withheld in part under Exemption 6. Specifically, the lower-level employee

names and an email address, phone number, and signature block were redacted.

       14.     I determined that the release of the lower-level employee names and contact

information would constitute a clearly unwarranted invasion of personal privacy, and that it

exceeded the interest of the public in disclosure as disclosure would provide no greater insight into

the operations of the VA.

       15.     The Report of Contact was withheld in part under Exemptions 5 and 6. Portions of

the deliberations were redacted under the deliberative process privilege, and lower-level employee




                                                -3-
        Case 1:21-cv-01298-RC Document 37-13 Filed 03/21/23 Page 4 of 5




names were redacted under Exemption 6. The application of these exemptions is discussed in more

detail in the Vaughn Index.

       16.     I determined that release of pre-decisional deliberative discussions in the Report of

Contact could reasonably be expected to cause harm to the VA, as this release would likely confuse

the public and suppress open discussion about future policies. Moreover, I determined that the

release of the lower-level employee names would constitute a clearly unwarranted invasion of

personal privacy, and that it exceeded the interest of the public in disclosure as disclosure would

provide no greater insight into the operations of the VA.

       17.     The Employee Threat Assessment Team (ETAT) Guidebook (May 2016) was

withheld in part under Exemption 6. Specifically, the names of individuals who contributed in

different capacities to the guidebook were redacted on two pages of the document. The application

of this exemption is discussed in more detail in the Vaughn Index.

       18.     I determined that the release of the names of the individuals could reasonably be

expected to cause harm to the VA because release of the lower-level employee names would

constitute a clearly unwarranted invasion of personal privacy, and it exceeded the interest of the

public in disclosure as disclosure would provide no greater insight into the operations of the VA.

       19.     I conducted a line-by-line segregability analysis of the responsive records. After

careful and extensive examination, I released to Plaintiff all reasonably segregable, non-exempt

information whose release would not cause foreseeable harm.



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                                               -4-
Case 1:21-cv-01298-RC Document 37-13 Filed 03/21/23 Page 5 of 5
